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                                    The Law Offices Of

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                                          June 15, 2022

(REDACTED)
Hon. J. Paul Oetken
United States District Judge
Southern District of New York
40 Foley Square
New York, N.Y. 10007

       Re: United States v. Lev Parnas, (S-3) 19-cr-725 (JPO)

Dear Judge Oetken,

        Lev Parnas is currently scheduled to be sentenced on June 29 2022, at 11:00 am. We
respectfully submit that a sentence of time-served, followed by a period of supervised release to
include community service and counseling would be sufficient but not greater than necessary to
achieve the purposes of sentencing.

                                Personal History of Lev Parnas

        Lev Parnas was born on February 6, 1972, in Odessa, Ukraine, which was then a part of
the Union of Soviet Socialist Republics (USSR). He has one older sister, Lyudmila, age 60, with
whom he is very close. She resides in Florida, near Mr. Parnas. His mother, Zhanna, also resides
nearby. Mr. Parnas’s father, Aaron Parnas, passed away from a heart attack in 1983, at the age of
46. At the time, Mr. Parnas was approximately 11 years old.

        Mr. Parnas and his family fled the USSR as Jewish refugees in 1976, when Mr. Parnas
was four. While the family was temporarily sheltering in Italy en route to relocating in Israel,
Mr. Parnas and his sister won a U.S. green card lottery that enabled the family to emigrate to the
United States instead. The family entered the country on January 20, 1977, first staying in the
Detroit, MI area, as guests of a Jewish refugee relief organization.

        Mr. Parnas’s father, who had been a businessman previously, took odd jobs to support his
family, including working as an auto mechanic at a local repair shop. Approximately six months
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after Mr. Parnas arrived in the U.S., while visiting the repair shop with his father, a customer
reversed his vehicle and ran him over. Mr. Parnas was pinned beneath the vehicle and was being
burned by the heat of the muffler. Somehow, his father managed to lift the tail of the car just
enough for Mr. Parnas to be freed. In doing so, Mr. Parnas’s father suffered a heart injury that
required hospitalization, and from which he never fully recovered. Mr. Parnas sustained serious
burns and crushed his leg requiring multiple surgeries and hospitalization for a period of several
months.

       After the tragic incident with the vehicle, Mr. Parnas’s father was unable to resume
employment. His father remained at home and Mr. Parnas’s mother became the family’s primary
source of income, working in a beauty salon for long hours.

        After moving briefly to Florida in search of better economic opportunity, Mr. Parnas and
his family relocated to the Brighton Beach area of Brooklyn, New York, which had a vibrant
Ukrainian and Jewish community. Mr. Parnas’s older sister had married by this time and was
residing with her then-husband.

        Mr. Parnas’s father died of heart disease while hospitalized at Coney Island Hospital.
Then age 11, Mr. Parnas raced to the hospital with his family after receiving a dire call but did
not get the opportunity to see his father alive. Mr. Parnas’s life changed overnight. He began
attempting to assume the role of “man” of the family, focusing on work over education. Mr.
Parnas began to work at a video store in an attempt to help his mother and support their family.
He ultimately became the manager of the store, while also working odd jobs, including selling
newspapers by phone.

        When Mr. Parnas was 15, he began to work as a sales agent at a real estate agency, lying
about his age to do so. He worked selling and assisting in the sales of Brooklyn condominium
apartments, located in buildings owned by the real estate developer Fred Trump, the father of
former President Donald J. Trump. This early experience appeared to be highly impactful for Mr.
Parnas.

        After Mr. Parnas’s stint as an underage real estate salesman came to an end, he began
working in the limousine and then the import/export business. At approximately the age of 20,
Mr. Parnas began to work as a licensed stockbroker. Thereafter, he went on to operate a
securities trading company, Aaron Investments, located in Boca Raton, Florida. For the past
approximately twenty years, Mr. Parnas has engaged in a variety of business endeavors, with
limited success.

       Beginning in approximately 2012, Mr. Parnas, along with David Correia, started a
company named “Fraud Guarantee,” which was intended to provide a type of investment
insurance against fraud. Mr. Correia and Mr. Parnas misrepresented to investors how their funds
were being used. Mr. Parnas has pled guilty, and accepts responsibility for his conduct

        Starting in 2018, Mr. Parnas, along with his co-defendant Igor Fruman, and later, Andrey
Kukushkin, engaged in the federal election law violations for which Mr. Parnas was ultimately
indicted and convicted at trial.



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My name is Svetlana Parnas. Lev and I have been married for 12 years. We are
proud parents to 6 children: Aaron, 23,      19           15,           9,
3, and      , 7 months. The blending of a family is never easy, but I can honestly
say Lev and I have worked very hard to provide a loving home for our children.

The past few years since Lev’s arrest have been of particular difficulty for us.
Through all the trials and tribulations our family has fought to stay together and
help each other navigate these uncertain waters. A marriage, like all relationships,
is full of ups and downs, however I’m not sure anything can prepare you for the
plethora of emotions I felt the night the FBI searched our home. As I bounced my
newly 1 year old son on an exercise ball while praying my 6-year-old slept through
the search of the master bedroom where he was fast asleep. At the time, Lev and I
shared a room with our 1-year-old son, and of course his older brother loved to
sneak in to cuddle most nights.

All the agents worked in a very respectful manner over the many hours they were
at our home, and I am grateful they let me keep the awfully loud sound machine on
so my son would stay asleep. Thankfully he was able to blissfully sleep through the
whole ordeal as any child should be spared such an experience. My son          who
was 17 at the time, was not as fortunate. For many months, afterwards he suffered
from anxiety and fear following his father’s arrest and the search of our home.

The entirety of the past 2 years and 7 months of my husband being on GPS
monitoring, his arrest, his time in jail, and the pandemic that has kept most of the
world on lockdown has had a profound impact on Lev, me, and our entire family.
Lev is the nucleus of our family, he is the string that weaves through each one of
our children and makes us, us. It is his recommitment to us that has been the most
impactful change in our family dynamic over the past 2 years. With all his
shortcomings, loving me and our children is not one of them.

I believe it has always been and remains my husband’s goal to take care of his
family. I hope he will be given the opportunity to continue being there for me and
our kids.

Lev can always be counted on having an enormous heart. I have always known him
to be a kind person full of life, one who believes in the power of positive energy, in
pushing forth through any obstacle, to fight what he believes in, to be loyal, to help
people, and always be a charitable man. He has donated and has been deeply
involved in many charities both during our marriage, and in his life prior to that,
and over the past couple of years through his home arrest. Helping others is a
personal passion of Lev’s and it's during his charitable work that he is most happy.

Since the start of the war in Ukraine, both of our birth countries, Lev has been
working tirelessly to help in any way he can. Through his network he was able to
assist those innocent people of Ukraine, whether it is with help relocating them or
to help facilitate humanitarian aid to the regions that were underserved. This is the



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       heart of the man I married, as a result, his offenses come as a complete shock to
       me.

       My husband has come to terms and accepted responsibility for his wrongdoings
       and has expressed his regret to me privately as well as publicly. Lev has a strong
       desire to fix his underlying personal issues. One of the ways he has been working
       on this commitment to better himself, for not only his benefit but also for that of
       our children and myself is seeking help from Gambler Anonymous meetings. Lev
       has been attending weekly meetings for 6 months and checks in with his sponsor
       regularly.

       I have seen the personal growth these meetings have helped him achieve. I am
       confident with his tenacious and persistent attitude he will overcome his mistakes
       in an efficient and successful manner, and I believe that severe punishment will be
       detrimental to him and our entire family. I’m fully aware of the seriousness of his
       offenses, however, I humbly ask you to consider in your decision the impact of his
       absence on our family.

       My husband is instrumental in the lives of all of our children, the youngest being
       most vulnerable. Knowing the pain, trauma, and poor outcome growing up without
       a father has had on my husband, I ask this court to consider any alternative sentence
       that keeps my children's father and my husband in their lives. Any sentence
       imposed will leave me a single mother of 3 small kids and it is hard to imagine how
       I will be able to cope with being the support system for Aaron,
                         and       without my rock.

       I love my husband and will be praying for an outcome that keeps him out of prison.
       Thank you for your time and consideration.

Id.

Mr. Parnas’s eldest son, Aaron, who is a recently-admitted attorney, writes that:

       My name is Aaron Parnas, and I am the oldest son of Lev Parnas. I am writing to
       you today to ask for your consideration and leniency when sentencing my father
       later this month. My father’s arrest and subsequent indictment was truly a low point
       for my entire family. Since October 9, 2019–the day of the arrest–my family has
       been placed under a tremendous amount of pressure, both internally and externally.
       Internally, my father’s arrest thrust my family into extreme flux, requiring us to
       cope with the initial shock of the arrest, coupled with the secondary effects that
       came from it. These effects placed a major strain, both financially and emotionally,
       on my entire family, and especially on myself, my mother, and my younger siblings.
       Externally, my father’s arrest placed my family into the public spotlight. Within
       hours after his arrest, we were labeled anything from Russian spies to oligarchs,
       and everything in between. My little siblings, two of which were under the age of
       ten at the time, were forced to deal with reporters jumping fences to get to our home,



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peering eyes in public, and intrusive questions at school. The intense media
spotlight has been very difficult for all of us and has come with a lot of negative
backlash in our community in Florida.

Despite the extremely difficult conversations, internal, and external struggles, my
family has remained steadfast in our support of my father through the entire
process, and we continue to wholeheartedly support him to this day. Since his
arrest, I have seen a significant transformation in my father, his relationships with
family, and the way he lives his day-to-day life. First, my father has taken an active
role in mending relationships with me and my siblings and has become a larger part
of our lives. Because of this, my relationship with my father is getting better every
single day, and I could say the same for his relationship with my younger siblings.

At the same time, I have seen a significant shift in my father’s demeanor. When he
was arrested, my father was extremely defiant thinking he could do no wrong. Prior
to his arrest, I had never heard my father say the words “I’m sorry.” Since then, my
father cooperated successfully with the House of Representatives, despite not
having to, and attempted to cooperate, on multiple occasions with the United States
Attorney’s Office. Internally, he has expressed remorse and responsibility for the
actions that led to his sentencing. Externally, he has apologized to those who he has
wronged, including the United States Government, and continues to accept
responsibility for his actions.

His acceptance of responsibility has come in more ways than one. My father went
out of his way to settle all outstanding debts owed in pending judgments, and
repeatedly shares his intent to repay the victims charged in the Government’s
indictment. He has also begun attending Gamblers Anonymous classes and will, at
the time of his sentencing, be in possession of a six-month completion chip. In the
community, he has taken a lead role in assisting those in Ukraine to receive
financial and other assistance because of the Russian invasion.

When evaluating what type of sentence to impose, I am confident that Your Honor
will impose a sentence that is no greater than necessary to punish my father. I am
not writing to say my father is without faults. He has accepted responsibility for
serious offenses. But I am writing to say that a sentence of incarceration will not
serve its intended purpose. There are two prevailing reasons an individual is
sentenced to a term of incarceration: retribution and rehabilitation. Both of these
reasons have already been satisfied. Over the past two and a half years, while my
father was on house arrest for a majority of that time, he has taken active steps to
change his life for the better.

He has accepted responsibility for his wrongdoings, and he has committed, both
privately and publicly, to right his wrongs. There is nothing prison would teach my
father that he has not already learned over the past two years. Instead, a term of
incarceration will only undo all of the progress my family has made.




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       First, my family, especially my mother and my three youngest siblings (the
       youngest being only six months old) rely on my father both as a primary source of
       income and as someone who can assist around the house. A term of incarceration
       would not only punish my father, but would also punish my mother, forcing her to
       be a single mother of three young children with no stable income for an extended
       period of time. They need him at home right now more than ever.

       Second, my father is, in a lot of ways, the glue that keeps our family together. My
       siblings and I need him at home more than ever to continue the substantial progress
       we have made together as a family over the past several years. We need him at
       home more than ever.

       Finally, my father has taken active steps to help our community by providing a
       significant amount of support to those in Ukraine. Him and I have spoken on many
       occasions about the many ideas he has to continue supporting Ukraine if he was
       able to remain at home. The community needs him at home right now more than
       ever.

       I love my father very much, and firmly believe that he has changed for the better
       since his arrest and indictment. I have seen this change first-hand. As his son, I will
       personally ensure that he continues to achieve even more progress once we are able
       to put the past two years behind us. Although punishment is necessary, a custodial
       sentence is not. Please allow my father to remain home so that he is able to continue
       to work on himself, his family, and his community both here and abroad.

Id.

       Mr. Parnas’s son          19, writes about his memories of fishing and watching football
with his father, and how he increasingly relies upon him for guidance as he enters adulthood:

       …My Dad has always been here for me and my brothers and sisters. He taught me
       so many things and I am thankful for him.

       I love my dad very much and I can’t imagine having to be without him. Growing
       up I remember my favorite activity was to go fishing with my dad. We went on a
       lot of trips together and I have some of my best memories spending time with him.
       Sports was another thing my dad and I shared a love for and continue to this day. I
       am looking forward to watching this next Jets football season with him, he is a
       lifelong fan and made one out of me. The last few years were really hard with
       everything that happened with my dad. I’m glad to say our relationship got stronger
       during this time. Recently, I have been relying more on my dad and his advice as I
       am navigating becoming an adult myself. I want your honor to consider an
       alternative sentence to ensure my dad can be here for me, my siblings, and my mom.
       Thank you for your time.

Id.



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       Mr. Parnas’s teen daughter,            writes about her father’s commitment to her, and her
need for his presence in her life as a teen now more than ever:

               My father, Lev Parnas, is the most wonderful, caring dad in the world. He
       has taught me to treat everyone with kindness and treat others how I wanted to be
       treated. My dad has always been there for me through dance recitals, school, and
       any other events I had growing up. My dad has been my number one supporter
       since day one and today I am writing in support of him. I love waking up in the
       mornings to him cooking breakfast and us watching football with my brothers and
       spending time together. He always remembered to bring me flowers for every dance
       recital or competitions I had because he knew it was important for me. He would
       always show up when I needed him. I couldn’t imagine a time where I couldn’t rely
       on him for that. Even when I was little whenever I would be scared of the dark or
       have a bad dream my dad would always be there to protect me, he always told me
       “Don’t be scared daddy is here.” I hope me and my siblings always have him by
       our side. Please consider how much I love him and will miss him if he were to be
       away from me and my siblings for any period of time. I had a rough year of high
       school and if it wasn’t for my dad, I don’t know how I would have survived. Being
       a teen is hard most days and I need my dad by my side now more than ever.

Id.

        Mr. Parnas’s older and only sister, Lyudmila, writes poignantly about her family’s
emigration to the United States, and the struggles they endured not merely as the first generation
to live on American soil, but also through having to endure the loss of their father at a young age.
To Lyudmila, Mr. Parnas is a hero:

              My name is Lyudmila Piker. I am the older sister of Lev Parnas. Actually,
       I’m the only sister of Lev Parnas. My brother and I were born in a beautiful city of
       Ukraine call[ed] Odessa.

               Those times antisemitism against Jewish people was at its worse. Our
       parents, like a lot of Russian Jewish, were looking for the ways to escape from that
       regime and try to give us, the children, a better life. Coming to America was our
       dream come true. We are so grateful for Jewish organizations that embraced us,
       helped us with important things that were needed like food, living arrangements,
       language support. I will never forget the day when we as a family celebrated our
       citizenship and the rights to be called “American Citizen”.

               But unfortunately, soon after that our dearest father passed away from heart
       complications at age of 45 and left my mom, my grandmother, my brother, and me
       alone. As an older sister I tried to keep the family together. It was not easy. Lev
       was still a little boy who had no choice, but to grow up very fast. After [the] death
       of our father, he always felt responsible to take care of me, my mom and grandma.
       AND HE ALWAYS DID!



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        At 15 years old, when boys were still playing around, Lev already worked
as a real estate agent, selling luxury apartments in Brooklyn, NY, working with the
people twice his age and learning from them, so he can be the Best of the Best.
AND HE ALWAYS WAS!

       When it came to his family - his family was always his first and the most
important priority.

       He is our glue that keeps our family together. His positive attitude, his smile
helps us to get through difficult times in our life.

       We are very-very close family. Our believe in God is very strong!

        Our mom is unfortunately suffering from diabetics and severe arthritis. I
had my share of heart surgeries. Having my family support makes me strong. We
are so Blessed with our beautiful children. Lev has 6 amazing children that are their
father’s pride and joy. I have two girls and grandchild and we are all grateful to
have each other.

        As a family we always were involved in our community. Lev helped a lot
of people financially. He was always a part of different charity groups. He put
together great events to raise money for children with disabilities. And for the past
5 years up to now me and my brother continue volunteering for Jewish Community
Centers of Boca Raton and West Palm Beach Region. We spend a lot of time with
Holocaust Survivors and their families. A lot of Survivors are coming from ex
USSR, so our knowledge of Russian language gives us an opportunity to meet their
needs like taking them to doctors’ appointments, take them shopping, help around
the house, anything that can help those people enjoy the rest of their life with the
most needed support.

       On February 24th, 2022, when the whole world was in shock with what
happened in Ukraine, I knew our life will never be the same. No words can describe
how much I’m proud of my brother Lev Parnas for jumping in for using all his
connections, for getting so many people involved, for making a difference for
saving so many Ukrainian lives. HE IS MY HERO!

      Your Honor, please take to consideration how much good Lev can do for
many people! Please let him continue give the help [to] the ones that need it the
most.

       Please allow him to spend the precious time with the mother who needs her
son and doesn’t have too much time left.

       Please allow him to raise his little children, they need their father greatly.




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                 Please allow him to be the husband, who financially take[s] care of his
       family.

               AND Please, YOUR HONOR, don’t take from me my dearest brother, my
       best friend, my hero that makes me proud, makes his family proud, makes his
       Country proud!

Id.

        Mr. Parnas’s mother-in-law, Galina Melandovich, writes of his kindness, even throughout
the difficult circumstances that the past nearly three years has brought upon his wife and family,
and the pivotal role that he plays in his family’s wellbeing:

               My name is Galina Melandovich, Lev Parnas is my friend and son in law. I
       have known him for many years and even lived with him and my daughter and their
       kids for a period of a year and I come to visit from California as much as I can.

               Lev is such an open heart, he is always available to help, he always hosts
       everyone, and all people come to him for help and advice. I think my son in law is
       in this position because of how open he is and how trusting and loyal his is. Even
       in his position he is continuing to help others including his family and friends and
       even complete strangers across the world in Ukraine. That is Lev, keeping people
       he loves close and always there to support them.

               He has always been the main breadwinner of the family from a young age.
       I don't know how the family can manage without him, especially his kids and my
       daughter. My hope is you consider this and keep him close to us. I believe my son
       in law to be a good man, husband, and best father deserving of a full life after
       already too many years lost. For the past few years my health has been very bad,
       and I don’t know how I would support my daughter and grandkids if Lev was not
       there.

Id.

       David Sugarman, who has been a friend of Mr. Parnas for over seventeen years, writes
about Mr. Parnas’s charity, empathy, and service:

               …I consider Lev to be one of my closest friends on the planet and a pillar
       of the Jewish community in Palm Beach and Miami. There are so many things that
       I want to say and share, but I will list what are the most important to me that I hope
       resonates with you.

              On the early morning [of] June 24, 2021, I met with Lev at the Surfside
       family reunification center two blocks away from the disaster of the Champlain
       Tower collapse here in Miami. We spent two full days with the children, husbands,
       wives etc. of the victims that lost their lives the day before. We handed out food,



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of his GPS monitoring was finally removed. Throughout the entirety of pre-trial supervision, Mr.
Parnas has been compliant with all terms of his release.

        Immediately upon Mr. Parnas’s appearance in the Southern District of New York, he had
expressed an interest in attempting to provide substantial assistance to the Government. Days
later, by November 4, 2019, Mr. Parnas informed the United States House of Representatives
Permanent Select Committee on Intelligence (HPSCI) that he intended to cooperate and supply
materials sought by subpoena in the First Impeachment Inquiry of then-President Donald J.
Trump. Notably, Mr. Fruman had also been subpoenaed by HPSCI, but steadfastly refused to
comply.

       Two of Mr. Parnas’s co-defendants, David Correia and Igor Fruman, were ultimately
offered plea agreements to select counts of the indictment and entered guilty pleas. Mr. Parnas,
who was not offered such a plea, proceeded to trial along with another co-defendant, Andrey
Kukushkin, which ended in conviction on October 22, 2021. Mr. Parnas filed post-verdict
motions for a judgment of acquittal and for a new trial, which were denied.

       Thereafter, he entered a plea to the single remaining count against him--which had been
previously severed—”the Fraud Guarantee” wire fraud conspiracy.

        All of Mr. Parnas’s co-defendants have been sentenced by the Court to 366 days’
imprisonment. Mr. Fruman, who surrendered to the custody of the Bureau of Prisons on March
14, 2022, has already been released to “residential reentry management.” See
https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results.

         Most recently, by letter dated June 2, 2022, the Federal Election Commission wrote a
letter to Mr. Parnas (Exhibit H), advising that it had considered a July 31, 2018 complaint—
which had formed the basis of the Global Energy Producers (GEP) federal election and campaign
violations charged against Mr. Parnas and for which he was convicted at his trial—and also a
June 21, 2019 supplemental complaint against him, but that there were “insufficient votes to find
reason to believe that [Parnas] knowingly and willfully violated 52 U.S.C. 30122,” and also that
“the Commission was equally divided on whether to dismiss the allegation as a matter of
prosecutorial discretion.” For those reasons, “the Commission closed its file in this matter.” Id.

                               Good Faith Efforts at Cooperation

        Apparently, the information Mr. Parnas wished to supply the Department of Justice in
this case was information that it did not want to hear. Prosecutors kept Mr. Parnas at bay for
months before finally hearing his proffer. When they did, it was principally used to thwart his
potential trial testimony, rather than to consider his attempt to provide substantial assistance in
good faith.

       Mr. Parnas’s cooperation with Congress was timely and material. His media statements
were intended to place information and evidence that was important to our national interest into
the public domain—frequently at great risk to himself. And yet, from nearly the moment Mr.
Parnas committed to cooperating with Congress and producing videos, photographs, documents,



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text messages, proton mail messages and other information, the value of this evidence was of
undeniable significance.

       On January 14, 2020, HPSCI Chairman Adam B. Schiff wrote a letter to the Chair of the
House Judiciary Committee, Jerrold Nadler, transmitting certain evidence that Mr. Parnas had
produced:

               Pursuant to Section 3 of H. Res. 660, following consultation with the
       Ranking Minority Member, I am transmitting to the House Committee on the
       Judiciary two flash drives containing additional records and other materials related
       to the impeachment inquiry. This evidence was produced to the House Permanent
       Select Committee on Intelligence pursuant to duly authorized subpoenas and shared
       with the Committee on Oversight and Reform and the Committee on Foreign
       Affairs.

               One flash drive is in a sealed envelope marked—”sensitive”—this flash
       drive contains call records with sensitive personal information that should be
       protected from public disclosure, The other flash drive includes some of the records
       recently produced by Lev Parnas, an associate of President Trump's personal
       attomey, Rudy Giuliani, that are pertinent to the impeachment inquiry and some of
       which are described in more detail in the enclosure. Despite unprecedented
       obstruction by the President, the Committee continues to receive and review
       potentially relevant evidence and will make supplemental transmittals under H.
       Res. 660, as appropriate.

              Thank you for your prompt attention to this matter,

See https://intelligence.house.gov/uploadedfiles/20200114 - hpsci transmittal letter to hjc -
 new evidence.pdf (Emphasis added).

       As Speaker of the U.S. House of Representatives, Nancy Pelosi, stated at a press
conference the following day, January 15, 2020:

               Speaker Pelosi. And just yesterday, the House committee, two of our
       chairmen here, Chairman, Chairman Nadler of Judiciary, Chairman Schiff of
       Intelligence, Chairman Eliot Engel of Foreign Affairs and Chairwoman Maloney
       of Government Reform, they released new evidence pursuant to a House
       subpoena. Lev Parnas, you know who that is, an associate of Rudy Giuliani, that
       further proves the President was the central player in the scheme to pressure
       Ukraine for his own benefit in the 2020 election.

              This is about the Constitution of the United States. And it's important for
       the President to know and Putin to know, that the American voter, voters in
       America should decide who our president is, not Vladimir Putin and Russia.




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See Transcript of House Speakers’ Announcement, January 15, 2020,
https://www.speaker.gov/newsroom/11520-0 (Emphasis added).

       At that same press event, House Judiciary Committee Chairman Jerrold Nadler also cited
the importance of the materials that the Committee had received from Mr. Parnas:

                Chairman Nadler. Let me add to that. There is an overwhelming case
       beyond any reasonable doubt that the President betrayed the country by using – by
       withholding federal funds appropriated by Congress, breaking the law in doing so,
       in order to extort a foreign government into intervening to embarrass – to try to
       embarrass a potential political opponent of his. There is an overwhelming evidence
       of that.

               We couldn't wait because some people said well, let the election take care
       of it. He's trying to cheat in that election. So, it is essential that we bring this
       impeachment to stop the President from trying to rig – not from trying, he tried –
       from rigging the next election, from conspiring with a foreign government as the
       Russian government attempted to rig our last election.

               The evidence is overwhelming. The latest evidence with Parnas and
       Giuliani makes it even more so. It made sense to wait a while, as even more
       evidence piled up, but we have to proceed, because the election – the integrity of
       the election is at stake.

Id. (Emphasis added).

       Then, HPSCI Chairman Schiff interjected to further underscore the importance of the
materials that Mr. Parnas had provided:

              Chairman Schiff. Madam Speaker, can I just add – if I could just add really
       quickly onto this, and I thank the Chairman Jeffries. I just want to underscore the
       importance of documents, because we spent a lot of time talking about John Bolton
       and other witnesses. Witnesses may tell the truth and witnesses may not tell the
       truth. Documents don't generally lie. And in the documents that we submitted to
       the Judiciary Committee just last night, you see the importance of documents.

               Because included among the Parnas documents we obtained is a letter from
       Giuliani trying to set up a meeting with the President of Ukraine Zelensky to discuss
       a particular matter. Of course, we know that matter is the investigations that the
       President wanted Ukraine to undertake of his political opponent. There have been
       – there's been speculation from time to time; maybe the President or his allies will
       throw Mr. Giuliani under the bus.

                That letter makes clear that Giuliani, in his own words, is acting at the
       behest and with the knowledge and consent of the President. There is no fobbing
       this off on others. The President was the architect of this scheme. These documents



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       are important. We have only obtained a very small sample of the universe of
       documents that the President is withholding.

Id. (Emphasis added).

         The documentary and other evidence Lev Parnas provided to Congress was material to
the first impeachment proceeding of then-President Donald J. Trump. Although much of it had
been seized from Mr. Parnas by the Government, absent his decision to request that the Court
authorize the release of this material, neither Congress nor the American public would have
known of its existence.

                              Sentencing Guidelines Calculations

      Mr. Parnas’s advisory Guidelines calculations result in a Total Offense Level of 26, and a
Criminal History Category “I”. The advisory Guidelines range is 63 to 78 months.

       The discrepancy between the PSR’s Total Offense Level of 28 and advisory Guidelines
range of 78 to 97 months and the defense calculations arises from the loss amount associated
with the Federal Election Campaign Act Counts, which is not $1.0 million dollars. There was no
agreement—at least not by Mr. Parnas—anywhere near that amount. That fact was borne out
again and again by the evidence adduced at trial.

        Regardless of the advisory Guidelines calculation ultimately arrived at by the Court, we
respectfully submit that a downward variance to a sentence of time-served—roughly twelve
days—would be sufficient to achieve every valid purpose of punishment under the law.

            A Sentence of Time-Served is Sufficient but no Greater than Necessary

       1.      Sentencing Framework

        The Sentencing Guidelines provide strong guidance to sentencing courts after United
States v. Booker, 543 U.S. 220 (2005). Because the Guidelines are “the product of careful study
based on extensive empirical evidence derived from the review of thousands of individual
sentencing decisions,” Gall v. United States, 552 U.S. 38, 46 (2007), district courts must treat the
Guidelines as the “starting point and the initial benchmark” in sentencing proceedings. Id. at 49.

        After making that calculation, the Court must consider the factors outlined in 18 U.S.C. §
3553(a), which provides that a sentencing “court shall impose a sentence sufficient, but not
greater than necessary, to comply with the purposes set forth in paragraph (2) of this subsection,”
and then sets forth seven specific considerations:

            (1) the nature and circumstances of the offense and the history and characteristics
                of the defendant;

            (2) the need for the sentence imposed—




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               (A) to reflect the seriousness of the offense, to promote respect for the
               law, and to provide just punishment for the offense;
               (B) to afford adequate deterrence to criminal conduct;
               (C) to protect the public from further crimes of the defendant; and
               (D) to provide the defendant with needed educational or vocational
               training, medical care, or other correctional treatment in the most
               effective manner;

            (3) the kinds of sentences available;

            (4) the kinds of sentence and the sentencing range established [in the Guidelines];

            (5) any pertinent policy statement [issued by the Sentencing Commission];

            (6) the need to avoid unwarranted sentence disparities among defendants with
            similar records who have been found guilty of similar conduct; and

            (7) the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

        The Court may not presume the reasonableness of a within-Guidelines sentence, albeit
the Second Circuit has concededly recognized that “[i]n the overwhelming majority of cases, a
Guidelines sentence will fall comfortably within the broad range of sentences that would be
reasonable in the particular circumstances.” United States v. Fernandez, 443 F.3d 19, 27 (2d Cir.
2006); see also Kimbrough v. United States, 552 U.S. 85, 108-09 (2007) (“We have accordingly
recognized that, in the ordinary case, the Commission’s recommendation of a sentencing range
will reflect a rough approximation of sentences that might achieve § 3553(a)’s objectives.”
(Quotations omitted)).

       2.      Downward Departures under 5K2.0

       In United States v. Stoffberg, 782 F. Supp. 19 (E.D.N.Y. 1992) (Weinstein, J.), the district
court held the defendant's cooperation with a Congressional Committee to be a permissible basis
to downwardly depart without the need for a government 5K1.1 motion, since "the courts have
sentencing authority to reward cooperation of a defendant with an agency other than the
prosecution when the United States Attorney has not requested a downward departure." Id. at
19.

        Here, Mr. Parnas has provided nearly 700 pages of evidence to an agency other than the
prosecution—the House Intelligence Committee—that it relied upon in the First Impeachment of
then-President Donald J. Trump. See MARKUP OF: H. RES. 755, ARTICLES OF
IMPEACHMENT AGAINST PRESIDENT DONALD J. TRUMP VOLUME II,
https://www.govinfo.gov/content/pkg/CHRG-116hhrg39402/pdf/CHRG-116hhrg39402.pdf. The
Court plainly has the sentencing authority to reward this cooperation, without the need for a
government request for downward departure.



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       As set forth in detail above, on January 14, 2020, HPSCI Chairman Adam Schiff
transmitted this evidence from Mr. Parnas to the Chair of the House Judiciary Committee,
Congressman Jerrold Nadler, for inclusion in the record, because he believed it was “pertinent to
the impeachment inquiry.”

       And, the next day, January 15, 2020, Speaker of the House Nancy Pelosi, HPSCI
Chairman Adam Schiff and House Judiciary Committee Chair Jerrold Nadler held a joint press
conference, at which they repeatedly stressed the importance of the documentary evidence that
Mr. Parnas had released.

       More recently, in his book, Midnight in Washington, Congressman Schiff again refers to
Mr. Parnas’s cooperation with Congress:

               Lev Parnas, now an indicted associate of Rudy Giuliani, also expressed a
       willingness to testify, and he provided a trove of documents to us, including
       significant correspondence with Giuliani.

See Schiff, Adam, Midnight in Washington, 346, Random House, 1st ed. 2021 (Emphasis added).

       Even if not considered under Guidelines Section 5K2.0, Mr. Parnas’s efforts at
cooperating with Congress, including providing material evidence in the First Impeachment of
Donald J. Trump, may properly be considered as a basis for downward variance under 18 U.S.C.
3553(a).

       3.      Consideration of the Title 18 U.S.C. 3553(a) Factors

        In this case, a sentence below the stipulated Guidelines Range to time-served would be
sufficient to reflect the seriousness of the offense; promote respect for the law; provide just
punishment for the offense; and afford adequate deterrence to criminal conduct, as required by
18 U.S.C. § 3553(a).

       It goes without saying that the crimes for which Mr. Parnas was convicted were serious.
He participated in a wire fraud conspiracy involving over $2 million in investor assets over a
period of seven years. Mr. Parnas was also convicted after a jury trial of various campaign
finance violations.

       There are, however, compelling countervailing factors that weigh in favor of a below-
Guidelines sentence.

         In terms of the “history and characteristics of the defendant,” immediately upon his
appearance in this district, in October 2019, Mr. Parnas sought to cooperate with the
Government. Albeit the Government steadfastly rebuffed Mr. Parnas’s efforts at providing
“substantial assistance,” Mr. Parnas was allowed by the Court to provide evidence to Congress
for its use in the First Impeachment Inquiry of then-President Donald Trump. This cooperation
with Congress was material to the impeachment of the former president and was of sufficient



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        Yet, Mr. Parnas was the only one of his co-defendants to have cooperated with Congress.
He was the only one with the inner resolve and courage to speak to the public about matters of
national significance, even when he was under indictment and facing prosecution. And Mr.
Parnas was the only defendant to provide evidence that was material to Congress’ First
Impeachment of Donald Trump. He has already served over nine months under strict, 24-hour
home confinement, and another 18 months under some other form of a curfew. A sentence to
time-served and no further confinement has been well-earned on a number of grounds,
notwithstanding that Mr. Parnas exercised his right to a jury trial and such an outcome would be
a lesser sentence than any of his co-defendants received.

      As to restitution, imposing a time-served sentence would allow Mr. Parnas to continue
working while pursuing literary and other projects when they are still ripe, so as to commence
payment of any restitution ordered—even though incrementally—almost immediately.

       Taken together, all of the 3553(a) factors coalesce to support a below-Guidelines
sentence to time-served, notwithstanding the overall nature and gravity of the Federal Election
Campaign Act and wire fraud violations for which Mr. Parnas stands convicted.


                                           Conclusion

       For the reasons set forth herein, we respectfully submit that a sentence of time-served
would be sufficient and no greater than necessary to satisfy all the objectives of sentencing.

                                                     Respectfully submitted,


                                                     _______________
                                                     Joseph A. Bondy
                                                     Stephanie R. Schuman
                                                     Counsel to Lev Parnas




cc:    AUSAs Nicolas Roos, Aline Flodr
       and Hagan Scotten
       USPO Specialist Paul Hay




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